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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT


ANDREW HILLBURY,                                          CIVIL ACTION NO.

         PLAINTIFF,

v.

THE UNIVERSITY OF HARTFORD and
ELLUCIAN COMPANYL.P.,


         DEFENDANTS.                                   AUGUST 8, 2019


                                   NOTICE OF REMOVAL

         PLEASE TAKE NOTICE that Defendants The University of Hartford and Ellucian

Company L.P. (collectively "Defendants") file this Notice of Removal in accordance with 28

U.S.C. §§ 1331, 1441, and 1446. Defendants remove this action from the Superior Court of the

State of Connecticut, Judicial District of Hartford (the "Superior Court Action") to the United

States District Court for the District of Connecticut. As their reasons for removal, Defendants

state:

         1.     By Summons and Complaint, Plaintiff Andrew Hillbury commenced a civil action

against Defendants in the Connecticut Superior Court captioned Andrew Hillberry v. The

University of Hartford and Ellucian Company Limited Partnership, Docket No. Number HHD-

CV 19-611444 7-S, with a return date of August 6, 2019.

         2.     A true and correct copy of the Summons and Complaint served by Plaintiff on

Defendants is attached hereto as Exhibit A and constitutes all processes, pleadings and orders

served upon Defendants in this action to the present date. 28 U.S.C. § 1446(a).

         3.     This Notice of Removal is being filed within 30 days of the date on which
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Defendants were served with a copy of the Complaint in the Superior Court Action. 28 U.S.C. §

1446(b).

         4.     This Court has original "federal question" jurisdiction over this action pursuant to

28 U.S.C. § 1331 because Plaintiffs four-count complaint alleges that Defendants violated the

Family Medical Leave Act, 29 U.S.C. § 2612 et seq. This Cami has supplemental jurisdiction

over the remaining claim pursuant to 28 U.S.C. § 1446. Accordingly, the Complaint is properly

removed pursuant to 28 U.S.C. §§ 1441 and 1446.

         5.     This Notice of Removal is being filed in the United States District Court for the

District of Connecticut, where the Superior Court Action is pending. 28 U.S.C. §§ 1441 and

1446(a).

         6.     Attached hereto as Exhibit B is a copy of the Notice to Superior Court, Judicial

District of Hartford, of Filing of Notice of Removal, the original of which is being filed with the

Superior Court. 28 U.S.C. § 1446(d).

         7.     By filing this Notice of Removal, Defendants do not waive any defenses available

to them at law, in equity or otherwise, or concede that Plaintiff has pled claims upon which relief

may be granted.

         WHEREFORE, Defendants respectfully request that the above-captioned matter now

pending in the Superior Court, Judicial District of Hartford, Connecticut be removed to this

Court.




         Dated at New Haven, Connecticut this 8th day of August, 2019.



                                                 2.
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                                 Respectfully submitted,



                                 Isl Elizabeth R. McKenna
                                 Lori B. Alexander (CT08970)
                                 Elizabeth R. McKenna (CT28113)
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                            3.
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 8th day of August, 2019, a copy of the foregoing was sent via

first class mail, postage prepaid, to all counsel and pro se parties of record as follows:

Emanuele R. Cicciello, Esq.
Cicchiello & Cicchiello
364 Franklin A venue
Hartford, CT 06114

                                                       Isl Elizabeth McKenna
                                                       Elizabeth R. McKenna




                                                  4.
